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         UNITED STATES OF AMERICA,
                                                               Criminal No.                        ,-        C, \ (a
                            V.

                                                               REQUEST FOR DISCLOSURE OF
                                                               SENTENCING MATERIALS
                                                               (Requestor Not Represented by Counsel)
                     Defendant(s).




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        sentencmg matenals submitted to the Court on ~-1(~01ci m this case as to
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        sentencing materials be forwarded to the following electronic or mailing address:

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